            Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 1 of 22




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE
3558 7th Street NW
Rochester, Minnesota 55901

                                 Plaintiff,
                                                               CIVIL
             v.                                              COMPLAINT

ROBERT J. CONTEE III
Chief of the Metropolitan Police Department
441 4th Street, NW, 7th Floor
Washington, DC 20001                                        Civil Action No.

             and
                                                          ___________________
OFFICER JOHN DOE 1 (a/k/a “Officer Whiteshirt”)
Metropolitan Police Department
441 4th Street, NW, 7th Floor
Washington, DC 20001

             and                                           TRIAL BY JURY
                                                            REQUESTED
OFFICERS JOHN DOES 2-7
Metropolitan Police Department
441 4th Street, NW, 7th Floor
Washington, DC 20001

             and

DISTRICT OF COLUMBIA
A Municipal Corporation
441 Fourth Street, N.W.
Washington, D.C. 20001

       Serve for all Defendants:
       Karl A. Racine, Esq.
       Attorney General of the District of Columbia
       400 6th Street, NW, Washington, DC 20001
       Phone: (202) 727-3400

                             Defendants.




                                              1
             Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 2 of 22




      COMPLAINT FOR VIOLATION OF CIVIL RIGHTS AND PHYSICAL ASSAULT


I.      INTRODUCTION

        1.      This lawsuit, brought under the Civil Rights Act 42 USC 1983, seeks money

damages for the violations of the rights of Victoria Charity White under the Fourth, Fifth Eighth

and Fourteenth Amendments to the Constitution for unreasonable seizure/excessive force and

violations of Due Process which shock the conscience, as well as claims brought under the laws

of the District of Columbia, including common law claims for negligence, negligence per se,

assault, battery, intentional infliction of emotional distress, and negligent infliction of emotional

distress when she was severely beaten with a metal baton approximately 35 times and punched in

face five times at the U.S. Capitol on January 6, 2021, by a Metropolitan Police Officer believed

to be a lieutenant, aided and abetted by other police officers.

II.     JURISDICTION AND VENUE

        2.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331 (Federal Question Jurisdiction, 42 U.S.C. 1983, and 28 U.S.C. § 1332 (Diversity

Jurisdiction) because the amount in controversy exceeds $75,000 and there is complete diversity

amongst the parties.

        3.      This Court has supplemental jurisdiction over this case pursuant to 28 U.S.C. §

1367.

        4.      Jurisdiction is also proper under Bivens v. Six Unknown Named Agents, 403 U.S.

388 (1971), in so far as the actions violate the 1st, 4th, 5th, and 14th Amendments to the U.S.

Constitution.

        5.      To the extent that the District of Columbia and/or its Metropolitan Police

Department are governed by the Federal Government, this Court also has jurisdiction under 28



                                                  2
             Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 3 of 22




U.S.C. § 2680(h).



       6.      Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) a

substantial part of the events or omissions giving rise to the claims occurred in this judicial

district and Defendants are subject to personal jurisdiction in this District.

III.   PARTIES
                                              Plaintiff

       7.      Victoria White (“White”) is an individual, natural person, who at all material

times was and is a citizen of the State of Minnesota.

                                             Defendants

       8.      Defendant ROBERT J. CONTEE III is Chief of the Metropolitan Police

Department who is the supervisor and superior of the police officers of the Metropolitan Police

Department of the District of Columbia who physically assaulted the Plaintiff.

       9.      Defendant Officer John Doe 1, as captured and recorded on video, is a police

officer of the Metropolitan Police Department of the District of Columbia, who according to his

different uniform (a white shirt) on information and belief is a supervisory officer heading a team

of police officers, and who physically assaulted the Plaintiff on January 6, 2021.

       10.     Defendants OFFICERS JOHN DOES 2-7, , as captured and recorded on video, is

a police officer of the Metropolitan Police Department of the District of Columbia, participated

with, conspired to, and aided and abetted Defendant Officer John Doe 1 in physically assaulting

the Plaintiff, standing shoulder to shoulder at that time with Officer John Doe 1.

       11.      Defendant District of Columbia is a municipal corporation constituting the city

government of Washington, D.C.




                                                  3
              Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 4 of 22




                                       Diversity of Citizenship

       12.      The Plaintiff Victoria White is a citizen and resident of Minnesota

       13.      The Defendants are residents of the District of Columbia or neighboring States

Virginia or Maryland, and commute to work within the Metropolitan Police Department of the

District of Columbia.

       14.      There is complete diversity of citizenship between the Plaintiff (that is, all

Plaintiffs, being one in number) and all Defendants.

IV.    STANDING

       15. Plaintiff has standing to bring this action because she has been directly affected,

             harmed, and victimized by the unlawful conduct of the Defendants complained

             herein.

       16. The Plaintiffs injuries were proximately caused by the conduct of Defendants, each

             and every one of them, jointly and severally.

V.     FACTS COMMON TO ALL COUNTS

       17. On January 6, 2021, Plaintiff was engaged in protected speech and/or activity and

             peaceful assembly by peacefully protesting at the U.S. Capitol building.

       18. As a direct and proximate result of Plaintiff exercising her First Amendment rights,

             Plaintiff was (1) beaten, (2) assaulted, (3) battered, (4) physically abused, (5)

             subjected to false imprisonment by being grabbed and prevented from escaping

             physical abuse and punishment without probable cause or just reason.

       19. Plaintiff did not harm, threaten, or pose any threat to any federal or state agent while

             exercising her First Amendment and other rights.

       20. The U.S. Capitol Police issued six (6) permits for six (6) different demonstrations on




                                                   4
     Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 5 of 22




   the grounds of the U.S. Capitol to be held on January 6, 2021.

21. However, the U.S. Capitol Police did not provide any signage or guidance to direct

   would-be participants in the permitted demonstrations where to go to participate in

   the permitted demonstrations

22. The numbers of people visiting and demonstrating at and around the U.S. Capitol

   obscured and overwhelmed the plans for permitted demonstrations on the U.S.

   Capitol grounds.

23. For whatever reason(s), enormous crowds, some believing they were authorized to

   demonstrate on the U.S. Capitol grounds under permits issued by the U.S. Capitol

   Police, congregated instead around the building.

24. The U.S. Capitol is one of the most publicly-accessible government buildings in the

   world, treated as a museum and an attraction for citizens interested in their

   government and/or interested as tourists.

25. The Government asserts that the U.S. Capitol is “secured” 24 hours a day – which is

   no different as it is phrased than any government or commercial building, such as the

   National Air and Space Museum or a department store, because “secured” does not

   mean “closed.”

26. The U.S. Capitol building does not display permanent signs notifying citizens from

   around the country that sometimes the normally-public building might be restricted or

   closed.

27. On January 6, 2021, the U.S. Capitol Police Board caused temporary signs made of

   paper or thin plastic about 8 inches by 12 inches attached to bike-rack barricades and

   fencing.




                                         5
     Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 6 of 22




28. However, after those flimsy temporary signs attached to bike-rack barricades were

   removed by others, laid flat on the ground where they could not be seen or moved out

   of the path of crowds, the Plaintiff and others followed crowds of people unaware that

   the normally public building had been restricted.

29. The following facts occurred at the time noted based on video recordings that was

   under seal until the Government was forced to release it by order of this Court.

30. Plaintiff is seen on video on the Capitol steps telling the protestors NOT to enter the

   Capitol or cause a disruption. See: https://youtu.be/KhrEWU63nmM

31. Shortly thereafter Plaintiff is pushed by the crowd into the arched tunnel, being the

   entrance to the building on the West side of the U.S. Capitol building, in the center

   viewed left (North) to right (South) on the lower terrace, whereupon the following

   unlawful conduct by the Defendants took place:

32. This video can be seen among other places at: https://rumble.com/vs0kc3-

   victoria-white-attempts-to-stop-protesters-from-breaking-window.html

33. Plaintiff incorporates said video by reference into this Complaint as a factual exhibit

   as if fully set forth herein, and relies upon the substance and details of the

   Defendant’s conduct as among her factual allegations upon which she brings this

   Complaint.

34. The video records the brutal assault, battery, and physical abuse of the Plaintiff by

   some of the Defendants for which other Defendants share responsibility and liability.

35. Officer John Doe 1 wearing a white shirt is designated on information and belief as a

   Lieutenant, Lt., other officers are described as John Does 2-7Does 2-7.

    4:07:01: Lt. hits Ms. White in the head with his baton five times in seven
             seconds. The first blow knocks her MAGA hat off her head;



                                          6
Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 7 of 22




4:07:11   Lt. hits Ms. White over the head two times and then spears her
          with the baton two times;

4:07:24: Ms. White is sprayed directly in the fact by officer on ledge.
         Ms. White pleads with him to stop;

4:07:30   Ms. White is maced and hit by White-shirt and ledge officer;

4:07:38 Ms. White is visibly bleeding head, which can be seen on the
       white hoody;


4:07:45   Ms. White is stuck and cannot go anywhere;

4:07:54   Another MPDC Officer pulls Mr. White’s hair back and forth;

4:08:17 Lt. moves his way from the back, targets Ms. White and begins
       another assault.
          Lt. hits Ms. White approximately 10 more times.

4:08:30   Lt spears and pokes Ms. White his baton about the head, neck,
          and face so as to inflict maximum pain;

4:08:46   Lt beats the Ms. White with his baton striking directly over the
          head another ten times and then punches White;

4:09:10   Another MPDC Officer holds white and prevents her from
          leaving;

4:09:13   Lt. punches Ms. White in the face, with his left-hand, landing
          five punches in five seconds, with all of his might, while she is
          being held by another officer;

4:09:35   Another officer joins in and starts beating Ms. White in the head
          with his baton, landing twelve strikes directly to her face;

2:10:42   Ms. White is visibly in distress.

4:10:50   Ms. White collapses twice after being tossed around like a rag
          doll

4:11:03   Ms. White attempts to flee the tunnel and is ripped back by an
          MPDC officer

4:11:06   Lt. attacks Ms. White as she tries to flee striking her in the face



                                     7
Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 8 of 22




          with his baton

4:11:17   Lt. spears Ms. White in the face

4:11:20   Ms. White collapses in a cloud of mace

4:11:25   Ms. White is dragged to the back of the tunnel

4:11:36   Ms. White crosses the threshold of the tunnel into the interior of
          the Capitol in MPDC custody

4:16:58   Ms. Whit is walked past the South Crypt

4:19:42   Ms. White is walked past the Memorial Door

4:48:24   Ms. White is walked past the House Wing Door

4:48:46   Ms. White is walked past the Hall of Columns South Door

4:49:06   Ms. White is walked past the East Stairs

4:51:41   Ms. White is walked past the UL Atrium

4:53:32   Ms. White is walked past the SL Capitol Detail Door

6:01:25   Ms. White is walked into HQOB South Door Prisoner Process

6:02:14   Ms. White is sitting in a holding cell in HQOB Prisoner
          Processing

6:29:53   Ms. White is seen in the prisoner process hallway dabbing
          blood off of her head. Female Officer: “OMG you are bleeding
          from your head.”

6:56:06   Ms. White is being processed out of the holding cell

6:56:51   Ms. White is walked out of HQOB South Door Prisoner Process
          and left out side of the door without shoes or a coat

6:58:51   Ms. White asks a protestor to use his phone

7:02:24   Ms. White is shivering in the cold by the South Prisoner Door
          without shoes or a jacket

7:04:16   Shoeless and without a jacket, Ms. White is given a plastic sheet
          to wear and is discharged after being told he can wait to be



                                    8
     Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 9 of 22




               processed or leave


36. As shown in the video and alleged herein, the Defendants present on the scene

   physically beat the Plaintiff.

37. For further information and allegations about Plaintiff’s beating by the Defendants,s

   ee December 23, 2021, interview with Victoria White and Joseph McBride on The

   Greg Kelly Show of Newsmax. https://youtu.be/KhrEWU63nmM

38. As shown in the video and alleged herein, the Defendants present on the scene knew

   that the Plaintiff could not retreat from their repeated assault and battery upon her

   because of the crush of the crowd behind her outside of the arched tunnel entrance.

39. As shown in the video and alleged herein, at one point Plaintiff was able to break free

   from the physical assault and battery upon her, but the Defendants present on the

   scene grabbed her and pulled her back into the arched tunnel entrance, prevent her

   escape, and held her captive while continuing to physically beat, batter, and assault

   the Plaintiff.

40. Plaintiff possessed the clearly established right under the Fourth Amendment, Fifth

   Amendment, Eight Amendment, and Fourteenth Amendment to the Constitution and

   its Due Process requirements to bodily integrity and to be free from excessive force

   by law enforcement.

41. Any reasonable person knew or should have known of these rights at the time of the

   conduct complained herein insofar as they were clearly established at that time;

   especially to Defendants as sworn law enforcement officers.

42. The Defendants unlawfully seized Plaintiff by means of objectively unreasonable,

   excessive and physical force that shocks the conscience, thereby unreasonably



                                         9
    Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 10 of 22




    restraining and depriving Plaintiff of their freedom.

43. None of the Defendants engaged in reasonable steps to protect Plaintiff from the

    objectively unreasonable and conscience-shocking excessive force. They are

    therefore, each and every one of them, liable for the injuries and damages resulting

    from the objectively unreasonable and conscience-shocking force committed by each

    one separately and in concert.

44. The Defendants engaged in the conduct described by this Complaint willfully,

    maliciously, in bad faith, and in reckless disregard of Plaintiff federally protected

    constitutional rights.

45. Plaintiff was eventually indicted on April 8, 2021, for allegedly unlawful entry to

    Capitol and other charges but the Government did not seek pretrial detention.

46. Plaintiff’s trial has not yet been scheduled.

                        FIRST CAUSE OF ACTION
  Violation of Fourth, Fifth, Fourteenth Amendment and Due Process Rights

47. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

    Complaint with the same force and affect, as if fully set forth herein again at length.

48. 42 U.S.C. § 1983 provides in pertinent part that:

    Every person, who under color of any statute, ordinance, regulation, custom or
    usage of any state or territory or the District of Columbia subjects or causes to
    be subjected any citizen of the United States or other person within the
    jurisdiction thereof to the deprivation of any rights, privileges or immunities
    secured by the constitution and law shall be liable to the party injured in an
    action at law, suit in equity, or other appropriate proceeding for redress . . .

49. At the time of the events complained herein, Plaintiff possessed the clearly

    established constitutional right to be free from physical violence, physical abuse,

    terrorizing, intimidation, fright from assault, and false imprisonment or kidnapping




                                          10
            Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 11 of 22




           violating the right of liberty and travel, excessive force, and the like.

       50. The Defendants were at all times relevant to this Complaint acting under color of

           state law, on duty within the terms of their employment and assignment, and not on a

           lark or detour from their employment and assigned duties, but abusing their positions

           and offices in violation of the Plaintiff’s rights.

       51. The Defendants formed a retaliatory motive and beat the Plaintiff because she was

           exercising her First Amendment rights demonstrating at the U.S. Capitol.

       52. The Defendants, acting in concert jointly and severally, possessed a retaliatory

           motive.

       53. The violations of Plaintiff’s liberty interest and freedom from bodily injury by the

           Defendants are compensable under Bivens v. VI Unknown Named Agents of Federal

           Bureau of Narcotics, 403 U.S. 388 (1971).

       WHEREFORE, Plaintiff prays for relief and judgment against each of the Defendants,

jointly and severally, as follows: general damages, special damages, punitive damages, pre-

judgment and post-judgment interest as allowed by law, costs of suit incurred herein, attorneys’

fees, and any other further relief the Court deems just and proper, for the illegal, unconstitutional

and intentional and malicious acts of the Defendants, each and every one of them.

                              SECOND CAUSE OF ACTION
                            Civil Action for Deprivation of Rights
                               Against All Named Defendants
           42 U.S.C. § 1983 – Excessive Force in Violation of Fourth Amendment

       54. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

           Complaint with the same force and affect, as if fully set forth herein again at length.

       55. At the time of the events complained herein, Plaintiff possessed the clearly

           established constitutional right to be free from physical violence, physical abuse,



                                                  11
    Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 12 of 22




   terrorizing, intimidation, fright from assault, and false imprisonment or kidnapping

   violating the right of liberty and travel, excessive force, and the like.

56. The Defendants were at all times relevant to this Complaint acting under color of

   state law, on duty within the terms of their employment and assignment, and not on a

   lark or detour from their employment and assigned duties, but abusing their positions

   and offices in violation of the Plaintiff’s rights.

57. All Defendants acted in concert to unlawfully institute, conduct and continue physical

   battery and physical abuse of the Plaintiff as pled in detail herein.

58. 42 U.S.C. § 1983 provides in pertinent part that:

   Every person, who under color of any statute, ordinance, regulation, custom or
   usage of any state or territory or the District of Columbia subjects or causes to
   be subjected any citizen of the United States or other person within the
   jurisdiction thereof to the deprivation of any rights, privileges or immunities
   secured by the constitution and law shall be liable to the party injured in an
   action at law, suit in equity, or other appropriate proceeding for redress . . .

59. The Defendants did so with shocking and willful indifference to Plaintiff rights, and

   in doing so exhibited conscious awareness that they would cause Plaintiff severe

   physical and emotional injuries or even death.

60. The acts or omissions of all Defendants were moving forces behind Plaintiff injuries.

61. These Defendants acted in concert and jointly in a conspiracy with each other.

62. The acts of omissions of the Defendants as described herein intentionally deprived

   Plaintiff of their constitutional rights and caused them other damages.

63. These Defendants are not entitled to any immunity for the conduct complained

   herein.

64. A jury acquitted both Plaintiff summarily in record time.

65. The Defendants to this claim at all times relevant hereto were acting as part of a



                                          12
            Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 13 of 22




           conspiracy, in concert, jointly and severally, pursuant to municipal/county custom,

           policy, decision, ordinance, regulation, widespread habit, usage, or practice in their

           actions pertaining to Plaintiff.

       66. As a proximate result of the Defendants’ unlawful conduct, Plaintiff has suffered

           actual and physical and emotional injuries, and other damages and losses entitling

           them to compensatory and special damages, in amounts to be determined at trial.

       WHEREFORE, Plaintiff prays for relief and judgment against each of the Defendants,

jointly and severally, as follows: general damages, special damages, punitive damages, pre-

judgment and post-judgment interest as allowed by law, costs of suit incurred herein, attorneys’

fees, and any other further relief the Court deems just and proper, for the illegal, unconstitutional

and intentional and malicious acts of the Defendants, each and every one of them.

                               THIRD CAUSE OF ACTION
                            Civil Action for Deprivation of Rights
                               Against All Named Defendants
             42 U.S.C. § 1983 – Retaliation in Violation of the Fifth Amendment

       67. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

           Complaint with the same force and effect, as if fully set forth herein again at length.

       68. At the time of the events complained herein, Plaintiff possessed the clearly

           established constitutional right to be free from physical violence, physical abuse,

           terrorizing, intimidation, fright from assault, and false imprisonment or kidnapping

           violating the right of liberty and travel, excessive force, and the like.

       69. The Defendants were at all times relevant to this Complaint acting under color of

           state law, on duty within the terms of their employment and assignment, and not on a

           lark or detour from their employment and assigned duties, but abusing their positions

           and offices in violation of the Plaintiff’s rights.



                                                  13
            Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 14 of 22




       70. As a proximate result of the Defendants’ unlawful conduct, Plaintiff has suffered

           actual and physical and emotional injuries, and other damages and losses entitling

           them to compensatory and special damages, in amounts to be determined at trial.

       WHEREFORE, Plaintiff prays for relief and judgment against each of the Defendants,

jointly and severally, as follows: general damages, special damages, punitive damages, pre-

judgment and post-judgment interest as allowed by law, costs of suit incurred herein, attorneys’

fees, and any other further relief the Court deems just and proper, for the illegal, unconstitutional

and intentional and malicious acts of the Defendants, each and every one of them.


                               FOURTH CAUSE OF ACTION
                            Civil Action for Deprivation of Rights
                                Against All Named Defendants
                     42 U.S.C. § 1983 –Violation of the Fifth Amendment

       71. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

           Complaint with the same force and effect, as if fully set forth herein again at length.

       72. At the time of the events complained herein, Plaintiff possessed the clearly

           established constitutional right to be free from physical violence, physical abuse,

           terrorizing, intimidation, fright from assault, and false imprisonment or kidnapping

           violating the right of liberty and travel, excessive force, and the like.

       73. At the time of the events complained herein, Plaintiff possessed the clearly

           established constitutional right to be free from physical violence, physical abuse,

           terrorizing, intimidation, fright from assault, and false imprisonment or kidnapping

           violating the right of liberty and travel, excessive force, and the like.

       74. The Defendants were at all times relevant to this Complaint acting under color of

           state law, on duty within the terms of their employment and assignment, and not on a




                                                 14
    Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 15 of 22




   lark or detour from their employment and assigned duties, but abusing their positions

   and offices in violation of the Plaintiff’s rights.

75. Any reasonable person knew or should have known of these rights at the time of the

   complained of conduct insofar as they were clearly established at that time; especially

   to the Defendants as sworn law enforcement officers.

76. All Defendants acted in concert to unlawfully institute, conduct and continue physical

   battery and physical abuse of the Plaintiff as pled in detail herein.

77. The Defendants engaged in the conduct described by this Complaint willfully,

   deliberately, maliciously, in bad faith, and in reckless disregard of Plaintiff federally

   protected constitutional rights.

78. The acts or omissions of all the Defendants were moving forces behind Plaintiff

   injuries.

79. All Defendants acted in concert as part of the conspiracy to deprive Plaintiff of her

   civil rights.

80. The acts or omissions of the Defendants as described herein intentionally deprived

   Plaintiff of her constitutional and statutory rights and caused other damages.

81. The Defendants are not entitled to any immunity for the conduct complained herein.

82. The Defendants to this claim were, at all times relevant hereto, acting pursuant to

   municipal/county custom, policy, decision, ordinance, regulation, widespread habit,

   usage, or practice in their actions pertaining to Plaintiff.

83. As a proximate result of the Defendants’ unlawful conduct, Plaintiff has suffered

   actual and physical and emotional injuries, and other damages and losses entitling

   them to compensatory and special damages, in amounts to be determined at trial.




                                          15
            Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 16 of 22




       WHEREFORE, Plaintiff prays for relief and judgment against each of the Defendants,

jointly and severally, as follows: general damages, special damages, punitive damages, pre-

judgment and post-judgment interest as allowed by law, costs of suit incurred herein, attorneys’

fees, and any other further relief the Court deems just and proper, for the illegal, unconstitutional

and intentional and malicious acts of the Defendants, each and every one of them.

                               FIFTH CAUSE OF ACTION
                           Civil Action for Deprivation of Rights
                               Against All Named Defendants
  42 U.S.C. § 1983 – Deliberately Indifferent Policies, Practices, Customs, Training, and
 Supervision in Violation of the Fourteenth, and First Amendments and in Violation of 42
                                       U.S.C. § 1981

       84. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

           Complaint with the same force and effect, as if fully set forth herein again at length.

       85. Plaintiff possessed the following clearly established rights, guaranteed to them by the

           Constitution of the United States, at the time of the conduct complained herein:

       86. The right to bodily integrity and to be free from excessive force by law enforcement

           under the Fourth Amendment, Fourteenth Amendment; Fifth Amendment and Due

           Process requirements of the U.S. Constitution.

       87. The right to be free from malicious prosecution under the Fourteenth Amendment.

       88. The Defendants knew or should have known of these rights at the time of the

           complained conduct insofar as they were clearly established at that time, especially to

           Defendants as sworn law enforcement officers.

       89. The acts or omissions of these Defendants, as described herein, deprived Plaintiff of

           her constitutional and statutory rights and caused them other damages.

       90. The Defendants are not entitled to any immunity for the conduct complained herein.

       91. The Defendants developed and maintained policies, procedures, customs, and/or



                                                 16
           Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 17 of 22




           practices exhibiting deliberate and willful indifference to the constitutional rights of

           citizens, which were moving forces behind and proximately caused the violations of

           Plaintiff constitutional and federal rights as set forth herein, and in the other claims,

           which resulted from a conscious and deliberate choice to follow a course of action

           from among various alternative courses of conduct available.

       92. The Defendants, each and every one of them, acting in concert, jointly and severally,

           created and have unlawfully tolerated an atmosphere of lawlessness, and have

           developed and maintained long-standing, department-wide customs, law enforcement

           related policies, procedures, customs, and practices, and/or failed to properly train

           and/or supervise its officers in a manner amounting to deliberate indifference to the

           constitutional rights of Plaintiff and of the public generally.

       93. All Defendants acted in concert as part of the conspiracy to deprive Plaintiff of her

           civil and constitutional rights.

       WHEREFORE, Plaintiff prays for relief and judgment against each of the Defendants,

jointly and severally, as follows: general damages, special damages, punitive damages, pre-

judgment and post-judgment interest as allowed by law, costs of suit incurred herein, and any

other further relief the Court deems just and proper, for the illegal, unconstitutional and

intentional and malicious acts of the Defendants, each and every one of them.

                                 SIXTH CAUSE OF ACTION
                       Battery by Officers John Doe 1 and John Does 2-7

       94. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

           Complaint with the same force and effect, as if fully set forth herein again at length.

       95. The Defendants present on the scene committed physical battery and physical harm

           upon the Plaintiff.



                                                 17
    Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 18 of 22




    WHEREFORE, Plaintiff prays for relief and judgment against each of the

    Defendants, jointly and severally, as follows: general damages, special damages,

    punitive damages, pre-judgment and post-judgment interest as allowed by law, costs

    of suit incurred herein, attorneys’ fees, and any other further relief the Court deems

    just and proper, for the illegal, unconstitutional and intentional and malicious acts of

    the Defendants, each and every one of them.

                      SEVENTH CAUSE OF ACTION
           Excessive Force by Officers John Doe 1 and John Does 2-7

96. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

    Complaint with the same force and effect, as if fully set forth herein again at length.

97. The Defendants present on the scene committed excessive force prohibited under

    D.C. law with regard to the permissible conduct of law enforcement.

    WHEREFORE, Plaintiff prays for relief and judgment against each of the

    Defendants, jointly and severally, as follows: general damages, special damages,

    punitive damages, pre-judgment and post-judgment interest as allowed by law, costs

    of suit incurred herein, attorneys’ fees, and any other further relief the Court deems

    just and proper, for the illegal, unconstitutional and intentional and malicious acts of

    the Defendants, each and every one of them.

                         EIGHTH CAUSE OF ACTION
                Assault by Officers John Doe 1 and John Does 2-7

98. Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

    Complaint with the same force and effect, as if fully set forth herein again at length.

99. The Defendants present on the scene placed the Plaintiff in apprehension, fright, and

    intimidation of immediate physical bodily harm.




                                          18
       Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 19 of 22




   WHEREFORE, Plaintiff prays for relief and judgment against each of the

   Defendants, jointly and severally, as follows: general damages, special damages,

   punitive damages, pre-judgment and post-judgment interest as allowed by law, costs

   of suit incurred herein, attorneys’ fees, and any other further relief the Court deems

   just and proper, for the illegal, unconstitutional and intentional and malicious acts of

   the Defendants, each and every one of them.

                         NINTH CAUSE OF ACTION
          False Imprisonment by Officers John Doe 1 and John Does 2-7

100.     Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

   Complaint with the same force and effect, as if fully set forth herein again at length.

101.     By physically grabbing and restraining the Plaintiff, preventing her from leaving

   the area and escaping from physical injury, and pulling her back in toward the

   Defendants, the Defendants on the scene committed the common law tort of false

   imprisonment.

   WHEREFORE, Plaintiff prays for relief and judgment against each of the

   Defendants, jointly and severally, as follows: general damages, special damages,

   punitive damages, pre-judgment and post-judgment interest as allowed by law, costs

   of suit incurred herein, attorneys’ fees, and any other further relief the Court deems

   just and proper, for the illegal, unconstitutional and intentional and malicious acts of

   the Defendants, each and every one of them.

                          TENTH CAUSE OF ACTION
              False Arrest by Officers John Doe 1 and John Does 2-7

102.     Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

   Complaint with the same force and effect, as if fully set forth herein again at length.




                                           19
               Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 20 of 22




        103.     By physically grabbing and restraining the Plaintiff, preventing her from leaving

            the area and escaping from physical injury, and pulling her back in toward the

            Defendants, the Defendants on the scene committed the common law tort of false

            arrest.

            WHEREFORE, Plaintiff prays for relief and judgment against each of the

            Defendants, jointly and severally, as follows: general damages, special damages,

            punitive damages, pre-judgment and post-judgment interest as allowed by law, costs

            of suit incurred herein, attorneys’ fees, and any other further relief the Court deems

            just and proper, for the illegal, unconstitutional and intentional and malicious acts of

            the Defendants, each and every one of them.


                                ELEVENTH CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress
                             by Officers John Doe 1 and John Does 2-7

        104.     Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

Complaint with the same force and effect, as if fully set forth herein again at length.

        105.     The Defendants on the scene intentionally, knowingly, and deliberately subjected

the Plaintiff to emotional distress.


                                TWELFTH CAUSE OF ACTION
                             Negligent Infliction of Emotional Distress
                             by Officers John Doe 1 and John Does 2-7

        106.     Plaintiff repeats and re-alleges all of the previous allegations of the entirety of this

Complaint with the same force and effect, as if fully set forth herein again at length.

        107.     The Defendants on the scene negligently subjected the Plaintiff to emotional

distress.




                                                   20
               Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 21 of 22




        108.     WHEREFORE, Plaintiff prays for relief and judgment against each of the

Defendants, jointly and severally, as follows: general damages, special damages, punitive

damages, pre-judgment and post-judgment interest as allowed by law, costs of suit incurred

herein, attorneys’ fees, and any other further relief the Court deems just and proper, for the

illegal, unconstitutional and intentional and malicious acts of the Defendants, each and every one

of them.


                 RESPONDEAT SUPERIOR LIABILTY AS TO ALL COUNTS

        109.     Defendant D.C. is jointly and severally liable under the doctrine of respondeat

             superior for the aforementioned tortious acts and omission of John Does 1-7.

VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff pray for relief and judgment against each of the Defendants,

jointly and severally, as follows: general damages, special damages, punitive damages, pre-

judgment and post-judgment interest as allowed by law, costs of suit incurred herein, in an

aggregate amount of $1,000,000.00, as may be proven at trial, attorneys’ fees, costs, and any

other further relief the Court deems just and proper, for the illegal, unconstitutional and

intentional and malicious acts of the Defendants, each and every one of them, against the

Plaintiff.

                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury on all counts as to all issues so triable.

Dated: January 5, 2022

                                                      Respectfully Submitted,

                                                       /s/ Jonathon Moseley
                                                      ____________________________
                                                      USDCDC Bar No. VA005
                                                      Virginia State Bar No. 41058


                                                 21
Case 1:22-cv-00027 Document 1 Filed 01/05/22 Page 22 of 22




                                 Mailing address only:
                                 5765-F Burke Centre Parkway, PMB #337
                                 Burke, Virginia 22015
                                 Telephone: (703) 656-1230
                                 Contact@JonMoseley.com
                                 Moseley391@gmail.com

                                 Respectfully Submitted,

                                  /s/ Joseph D. McBride, Esq.
                                 ____________________________
                                 Mr. Joseph D. McBride, Esq.
                                 THE MCBRIDE LAW FIRM, PLLC
                                 Attorneys for the Defendant
                                 99 Park Avenue, 6th Floor
                                 New York, NY 10016
                                 Phone: (917) 757-9537
                                 Email: jmcbride@mcbridelawnyc.com


                                 Respectfully Submitted,

                                  /s/ Paul D. Kamenar, Esq.
                                 ____________________________
                                 Mr. Paul D. Kamenar, Esq.
                                 DC Bar 914200
                                 1629 K Street, N.W., Suite 300
                                 Washington, D.C. 20006
                                 Phone: (301) 257-9435
                                 paul.kamenar@gmail.com




                            22
